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Case 3:11-cv-03262-EMC-MMS-RS Document 2

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UNITED STATES OF AMERICA,

Plaintiff,

Vv.

ALAMEDA COUNTY, CALIFORNIA;

DAVE MACDONALD,

REGISTRAR OF VOTERS, in his official
capacity; and the ALAMEDA COUNTY BOARD
OF SUPERVISORS,

Defendants.

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Filed 07/01/11 Page 1 of 4

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF CALIFORNIA

OAKLAND DIVISION 4,
CWT 3262

JOINT STIPULATION
REQUESTING

ENTRY OF CONSENT DECREE
JUDGMENT, AND ORDER

STIPULATION: ENTRY OF CONSENT DECREE
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The United States and Defendants Alameda County, California, Dave Macdonald,
Registrar of Voters, in his official capacity, and the Alameda County Board of Supervisors (“the
Parties”), through their undersigned counsel, respectfully request this Court to enter the attached
Consent Decree, Judgment, and Order. In support of this stipulation, the Parties state the
following:

1. The Complaint in this action, alleging violations of Sections 203 of the Voting
Rights Act of 1965, as amended, 42 U.S.C. 1973aa-la, is being filed today simultaneously with
this stipulation requesting entry of the Consent Decree.

2. The Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and
1345 and 42 U.S.C. §§ 1973aa-2a. In accordance with 42 U.S.C. § 1973aa-2 and 28 U.S.C. §
2284, the United States’ Section 203 claim must be heard and determined by a court of three
judges.

3. The Parties have negotiated in good faith and have agreed to entry of this Consent
Decree as an appropriate resolution of the claims alleged. The Consent Decree requires that all
information that is disseminated by Alameda County in English about “registration or voting
notices, forms, instructions, assistance, or other materials or information relating to the electoral
process, including ballots,” 42 U.S.C. 1973aa-la(c), shall also be provided in Spanish and
Chinese. The Consent decree also requires that Spanish and Chinese language assistance shall
be available at all locations where election-related transactions are conducted in Alameda
County.

4, The attached Consent Decree is fair, reasonable, in the public interest, and does

not violate the law or public policy. Sierra Club, Inc. v. Electronic Controls Design, Inc., 909

STIPULATION: ENTRY OF CONSENT DECREE

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F.2d 1350, 1355 (9th Cir. 1990); see also Turtle Island Restoration Network v. United States

Department of Commerce, Nos. 09-00598 DAE-KSC, 10-00044 DAE-KSC, 2011 WL 344117,

at *3 (D. Haw. Jan. 31, 2011). Given that the Parties have reached an agreement, entry of the
Consent Decree will save the time and expense that would be expended if the Parties litigated

this lawsuit. See United States v. Armour & Co., 402 U.S. 673, 681 (1971).

5. Finally, the Parties stipulate that, except as provided in the Consent Decree, they
will waive further hearings and entry of findings of fact and conclusions of law on all issues
involved in this matter, and that each party shall bear its own costs and fees.

6. The Parties jointly request entry of their Consent Decree.

STIPULATION: ENTRY OF CONSENT DECREE

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WHEREFORE, the Parties request that the accompanying Consent Decree, Judgment,

and Order be entered by this Court.

Date: 3O_ day of June, 2011

For Plaintiff:

UNITED STATES OF AMERICA
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For Defendants:

ALAMEDA COUNTY, CALIFORNIA;
DAVE MACDONALD, ALAMEDA
COUNTY REGISTRAR OF VOTERS, in
his official capacity; and the ALAMEDA

COUNTY BOARD OF SUPERVISORS.

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RAYMOND d LARA
Deputy County Counsel

STIPULATION: ENTRY OF CONSENT DECREE

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